          Case 1:21-cr-00336-JDB Document 27 Filed 08/10/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA   §
                           §
VS.                        §                                  CASE NO. 1:21-cr-00336-JDB-1
                           §
SAMUEL CHRISTOPHER MONTOYA §


              UNOPPOSED MOTION TO CONTINUE STATUS HEARING
               AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT


TO THE HONORABLE JOHN D. BATES, UNITED STATES DISTRICT JUDGE FOR
THE DISTRICT OF COLUMBIA:

       NOW COMES SAMUEL CHRISTOPHER MONTOYA, Defendant in the above-entitled

and numbered cause, by and through his undersigned Counsel, Donald H. Flanary, III., and

respectfully moves to continue the status hearing scheduled for August 24, 2021, for at least 60

days and to exclude time under the Speedy Trial Act, and in support thereof Defendant would

respectfully show this Honorable Court as follows:

                                                I.

       Defendant in this case stands charged by Information with Count One: Entering/Remaining

on Restricted Buildings or Grounds in violation of Title 18 U.S.C. § 1752 (a)(1); Count Two:

Disorderly/Disruptive Conduct in or near a Restricted Building or Grounds in violation of Title 18

U.S.C. § 1752 (a)(2); Count Three: Disorderly Conduct in a Capitol Building in violation of Title

40 U.S.C. § 5104 (e)(2)(D); Count Four: Impeding Passage Through the Capitol Grounds or

Buildings in violation of Title 40 U.S.C. § 5104(e)(2)(E); and Count Five: Parading,

Demonstrating, or Picketing in a Capitol Building in violation of Title 40 U.S.C. § 5104 (e)(2)(G).




                                                1
          Case 1:21-cr-00336-JDB Document 27 Filed 08/10/21 Page 2 of 4




                                                    II.

        The Government is working with Defense Counsel in order to provide discovery in this

case and the parties hope to be able to negotiate a plea agreement that would obviate the need for

a trial. However, the parties need additional time for the production and review of discovery and

to engage in discussions. Continuing the status hearing currently scheduled for August 24, 2021,

for at least 60 days will provide the parties with additional time for discovery production and

review and to engage in discussions.

        The Speedy Trial Act requires that, in any case in which a plea of not guilty is entered, the

trial of a defendant charged in an information or indictment with the commission of an offense

shall commence within seventy days from the filing date (and making public) of the information

or indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date last occurs. 18 U.S.C. § 3161(c)(1). However, the

Act excludes any period of delay when a judge grants a continuance and finds that “the ends of

justice served by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.” 18 U.S.C. § 3161(h)(7)(A). When granting an ends-of-justice continuance, the Court

must “set[] forth, in the record of the case, either orally or in writing, its reasons for [that] finding.”

Id.

        Here, the exclusion of time through the 60 days best serves the interests and ends of justice

and outweighs the interests of the public and the defendant in a speedy trial because excluding

such time will afford the Defense the opportunity to engage in plea discussions with the

Government and to continue reviewing discovery. The Government does not oppose this motion.




                                                    2
         Case 1:21-cr-00336-JDB Document 27 Filed 08/10/21 Page 3 of 4




                                              III.

       WHEREFORE, PREMISES CONSIDERED, the parties respectfully request that the

Court continue this matter for at least 60 days and exclude time through and including that date

for purposes of any computation under the Speedy Trial Act and for other such relief that this

Honorable Court deems just and right.

                                            Respectfully Submitted,

                                            FLANARY LAW FIRM, PLLC
                                            214 E. Ashby Pl.
                                            San Antonio, Texas 78212
                                            Tel: (210) 738-8383
                                            Fax: (210) 728-3438

                                            BY: /s/ Donald H. Flanary, III.
                                                    Donald H. Flanary, III.
                                                    State of Texas Bar No. 24045877

                                            ATTORNEY FOR DEFENDANT,
                                            Samuel Christopher Montoya.




                                               3
            Case 1:21-cr-00336-JDB Document 27 Filed 08/10/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2021, a true and exact copy of the above and foregoing

Motion was electronically sent via CM/ECF to Candice Chiu Wong, Assistant United States

Attorney.

                                                      /s/ Donald H. Flanary, III.
                                                          Donald H. Flanary, III.



                            CERTIFICATE OF CONSULTATION

       This is to certify that Undersigned Counsel conferred with the Assistant United States

Attorney regarding this motion and:

  X   She does not oppose it.

      She does oppose it.

      Our attempts to resolve it were unsuccessful.

      Counsel were able to agree regarding the motion as follows: ________________

       ________________________________________________________________

      Counsel’s attempt to contact the Government was unsuccessful.

                                            /s/ Donald H. Flanary, III.
                                                Donald H. Flanary, III.




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